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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                      CRIMINAL NO. 6:23-CR-00113

 VERSUS                                        JUDGE DAVID C. JOSEPH

 JACOB DE LA PAZ                               MAGISTRATE JUDGE DAVID J. AYO

                               SCHEDULING ORDER

       A status conference was held before Magistrate Judge Ayo on June 9, 2023.

 Present for the Government was John Luke Walker, and present for Defendant was

 John Luke Walker. Counsel for Jacob De La Paz made an oral motion to continue the

 trial of this case beyond the seventy days allowed by the Speedy Trial Act and to set

 the case for trial as set forth below in this Scheduling Order. Given the complexity of

 the discovery in this case and

 ☒ the nature of the pending charges,

 ☐ the number of Defendants,

 ☐ Defendant’s need for additional time to file motions,

 ☐ the pendency of Defendant’s Motion to Suppress (ECF No. ),

 ☐ the pendency of Defendant’s discovery motion(s) (ECF No(s). and ),

 the Court finds that this additional time is reasonable and necessary for effective

 preparation by counsel for Defendant and the Government, taking into account the

 exercise of due diligence. The Court finds that the ends of justice served by granting

 this continuance outweigh the public’s and Defendants’ rights in a speedy trial.
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           Accordingly;

           TRIAL is SET before Judge Joseph on September 25, 2023 at 9:00 a.m. Trial

 is anticipated to last 4 days, not including jury selection. A pretrial conference will

 be HELD in the chambers of Judge Joseph on September 6, 2023 at 10:30 a.m.

 Attendance by trial counsel is required. The pretrial deadlines are as follows:

       1. June 16, 2023                          Defendant’s     Request        for     Discovery.
          7 days after issuance                  Government’s response is due 7 days from discovery
          of scheduling order                    request.       See          Rule          16(a)(1).

        2. June 26, 2023                         Government’s       Request       for    Discovery.
           15 days after                         Defendant’s reciprocal is due 7 days from discovery
           issuance of                           request.         See          Rule         16(b)(1).
           scheduling order

        3. July 27, 2023                         Expert Witness Disclosure by party with the
           60 days before trial                  burden of proof.

                                                 Notice Deadline (see e.g. Fed. R. Crim. P. 12.2,
                                                 12.3; Fed. R. Evid. 404(b), 413, 414).

        4. August 16, 2023                       Expert Witness Disclosure by party without the
           40 days before trial                  burden of proof.

        5. August 28, 2023                       Motions Deadline (e.g. suppression motions,
           30 days before trial                  Daubert motions, motions in limine, etc.).
                                                 Oppositions are due 5 days after service of motion.
                                                 Reply briefs accepted only with leave of court
                                                 requested 3 days after service of opposition.

        6. September 5, 2023                     Applications for Writ of Habeas Corpus ad
           21 days before trial                  testificandum (i.e. to produce witnesses who are
                                                 currently incarcerated). Such applications must
                                                 describe specifically why the testimony is necessary.

                                                 List of Foreseeable Issues, Proposed Voir Dire,
                                                 Proposed Jury Instructions. 1



 1
     For instructions regarding these documents, see Appendix, § I.
                                                       2
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      7. September 5, 2023                     Deadline to submit plea packet. 2
         2 days before Pretrial
         Conference

      8. September 11, 2023                    Applications for subpoena(s) pursuant to Fed. R.
         14 days before trial                  Crim. P. 17(b) (i.e., Defendant unable to pay)

      9. September 20, 2023                    Witness Lists (with witnesses designated as “fact”
         5 days before trial                   or “expert,” and the expected length of testimony).

                                               Exhibit Lists and Bench Books are to be provided
                                               to the Court and opposing parties. 3 Witnesses or
                                               evidence called/offered solely for impeachment need
                                               not be included.

                                               Real Time Glossary. Each party shall provide to
                                               the court reporter a glossary of all terms likely to be
                                               stated on the record during trial that are technical,
                                               scientific, medical, or otherwise uncommon.

          Signed at Lafayette, Louisiana on this 9th day of June, 2023.




                                                DAVID J. AYO
                                                UNITED STATES MAGISTRATE JUDGE




 2
  See Appendix, § IV.
 3
   Absent permission otherwise, counsel must provide 2 sets of bench books to chambers, 1 set to the
 Courtroom Deputy, and 1 set to each opposing party; counsel must also provide the Courtroom Deputy with
 a flash drive containing all trial exhibits. Prior to jury selection, counsel must deliver 1 complete set of
 bench books to the courtroom for the use of testifying witnesses at trial.
                                                      3
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                                        Appendix

 I.    Pretrial Conference

       A. List of Foreseeable Issues

        For discussion at the pretrial conference, counsel will file a list of ALL
 foreseeable issues that will arise on admissibility of evidence, burden of proof, and
 any other issues that can or must be dealt with in advance of trial. The purpose to be
 served is to eliminate, to the extent possible, delays during the course of the trial, and
 to permit advance preparation and research of issues expected to be raised at trial.
 The issue list will include counsel's opinion whether a pretrial hearing will be
 necessary to resolve any of these foreseeable issues. Examples of such issues which
 may require a hearing include, but are not limited to:

       1.     Extrinsic evidence questions under U.S. v. Beechum, 582 F.2d 898 (5th
              Cir. 1978);
       2.     Voluntariness of statements under 18 U.S.C. § 3501;
       3.     Admissibility questions; and/or
       4.     Any other issue resolvable by a pretrial hearing.

       The following topics will also be discussed at the pretrial conference:

       1.     Estimated time required by each side to put on its case;
       2.     Marking of documents for identification;
       3.     Waivers of foundation of documents where possible;
       4.     Exchange of curriculum vitae of expert witnesses and/or stipulation of
              expert qualifications;
       5.     Pending discovery problems;
       6.     Consideration of making Jencks Act material available to the defendant
              prior to the testimony of all witnesses;
       7.     Jury instructions/voir dire problems; and
       8.     Any other relevant matter necessary for the smooth progress of the trial.

       B.     Proposed Voir Dire

      Counsel may submit proposed voir questions pertinent to a party or the case.
 Counsel are not to duplicate questions contained in the Court’s boilerplate voir dire. 4

       C.     Jury Instructions



 4The Court may accept oral testimony in lieu of a written, stipulated factual basis for the
 guilty plea.
                                             4
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        Fifth Circuit Pattern Jury Instructions requested by the parties should be
 referenced only by their numbers. Each non-pattern instruction must be accompanied
 by a brief stating the statutory and/or jurisprudential authority for the instruction.
 Fifth Circuit authority is preferable. A simple case citation will not be sufficient.

 II.        Continuances

        Any request for a continuance of the trial setting or a pretrial deadline MUST
 include the specific reasons why the scheduled trial date or pretrial deadlines do not
 afford sufficient time, the exact amount of additional time requested and, if the party
 is requesting a trial continuance, the motion MUST include the relevant provision(s)
 of 18 U.S.C. § 3161 authorizing the continuance. Continuance requests MUST
 comply with the Court’s Standing Order regarding timely filing motions to continue.
 See Standing Order at www.lawd.uscourts.gov – under Chambers tab for Judge
 David C. Joseph.

 III.       Other Requirements

        A courtesy copy of all material required by this Scheduling Order should be
 submitted directly to chambers in order to facilitate prompt attention to all matters.
 Courtesy copies should be e-mailed to joseph_motions@lawd.uscourts.gov. All
 electronic submissions should be in Microsoft Word format.

 IV.        Guilty Plea and Sentencing Procedures

            A. Guilty Pleas
       Prior to the taking of a guilty plea, counsel are to submit a plea packet to the
 Court, which includes each of the following documents:

       1.   The plea agreement;
       2.   An affidavit of understanding of maximum penalty and constitutional rights;
       3.   The elements of the offense;
       4.   A stipulated factual basis for the guilty plea 5; and
       5.   A consent decree of forfeiture in appropriate cases.

 Absent good cause, guilty pleas will not be set until after receipt of the foregoing
 documents, signed by defendant and all counsel.




 5
  Upon a showing of good cause, the Court will accept oral testimony in lieu of a written, stipulated factual
 basis for the guilty plea.
                                                      5
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       B. Sentencing

        Presentencing memoranda must be filed by counsel under seal at least seven
 (7) days prior to the scheduled sentencing date, with a confidential copy submitted
 directly to the Probation Office. See LCrR 32.2. Any response thereto must be filed
 under seal, with a confidential copy submitted directly to the Probation Office, at
 least three (3) days prior to the scheduled sentencing date. The submission of a
 presentencing memorandum does not relieve the parties from the obligation of
 providing the probation officer with written objections to the presentence report
 within fourteen (14) days from the day of disclosure. See Fed. R. Crim. P. 32(f); LCrR
 32.1.




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